                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                         DOCKET NO. 1:16-cr-00137-MOC-DLH

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 v.                                            )                        ORDER
                                               )
 IVAN ZAMUDIO-MEZA,                            )
                                               )
                 Defendant.                    )



        THIS MATTER is before the court on the government's Motion to Dismiss the Indictment

as to the Named Defendant (#52). The court notes that the Motion is unopposed. Having

considered the Motion, the court enters the following Order.

                                                ORDER

        IT IS, THEREFORE, ORDERED that the government's Motion to Dismiss the

Indictment as to the Named Defendant (#52) is GRANTED. The Indictment as to Defendant

Zamudio-Meza is hereby DISMISSED.


                                      Signed: August 10, 2017




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